 Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.1 Filed 03/15/24 Page 1 of 20




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                   ____________________


 GOTION, INC.,                                       No.

                 Plaintiff,                          Hon.

 v.

 GREEN CHARTER TOWNSHIP,
 a Michigan general law township,

                 Defendant.
                                             /

                                        COMPLAINT

        Plaintiff Gotion, Inc. (“Gotion”), through its counsel, Warner Norcross + Judd, LLP, for

its Complaint against Defendant Green Charter Township (the “Township”) states as follows:

                                      INTRODUCTION

        1.      This case presents a simple breach of contract claim arising from the unlawful

actions of the new members of the Township, the majority of whom are motivated by clear anti-

Gotion animus.

        2.      In August 2023, Gotion and the Township entered into a binding contract (the

“Development Agreement”), under which, in relevant part, the Township agreed to assist Gotion

in obtaining the necessary governmental authorizations to advance Gotion’s electric vehicle

battery component manufacturing project, which includes authorizations to construct water

infrastructure for the project.




                                                 1
 Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.2 Filed 03/15/24 Page 2 of 20




       3.      Under a long-standing agreement between the Township and the City of Big

Rapids, any proposed extension of the City’s water system through the Township is subject to the

Township’s review and approval.

       4.      In October 2023, the Township complied with its contractual obligations by

adopting a resolution approving Gotion’s plans to connect the City’s water system to Gotion’s

project.

       5.      Just one month later, the Township abruptly reneged on its contractual obligations

by rescinding the resolution. The only thing that changed between October and November was the

composition of the Township’s Board, most of whose members are now ardently opposed to

Gotion’s project. The Board gave no justifiable reason for its sudden refusal to honor its contractual

obligations.

       6.      Since that time, the Township has continued to engage in actions that violate the

Development Agreement in an admitted attempt to block Gotion’s project.

       7.      To prevent the Township’s sudden recalcitrance from unraveling an endeavor

already years and millions of dollars in the making, this Court should order the Township to

comply with its obligations under the parties’ agreement by, among other things, reinstating the

resolution to approve the connection of the City’s water systems to Gotion’s project.

                          PARTIES, JURISDICTION, AND VENUE

       8.      Plaintiff Gotion, Inc., is a California corporation with its registered office located

in the State of California at 48660 Kato Road, Fremont, California 94538.

       9.      Defendant Green Charter Township is a Michigan general law township existing

under the laws of the State of Michigan with its principal office at 21431 Northland Drive, Paris,

Michigan 49338.




                                                  2
 Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.3 Filed 03/15/24 Page 3 of 20




        10.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

1332, because the amount in controversy exceeds $75,000, exclusive of interest and costs, and the

dispute is between citizens of different states.

        11.     Moreover, the Development Agreement provides that jurisdiction is proper in

federal courts in Michigan. See Exhibit 1, Dev. Agmt. § 14.

        12.     This Court is a proper venue for this action under 28 U.S.C. § 1391(b) because

Defendant is located in this district.

                                   GENERAL ALLEGATIONS

Gotion and the Project

        13.     Incorporated in California in 2014, Gotion is a subsidiary of Gotion High-Tech Co.,

which is one of the world’s largest electric vehicle (“EV”) battery manufacturers and has been

named on Bloomberg’s list of top 25 new energy producers.

        14.     Gotion has been engaged since 2022 in the planning and construction of a new

battery component manufacturing site and industrial park in Mecosta County, Michigan (the

“Project”).

        15.     Once completed, the Project is expected to produce up to 400,000 tons of cathode

material every year. Both cathode material and anode material are essential components of lithium-

ion batteries used in electric and hybrid vehicles.

        16.     Nationally, the Project is one component of Gotion’s larger strategy to establish a

domestic EV battery supply chain. Gotion operates a battery pack factory in Fremont, California,

and expects to begin production of lithium-ion batteries in a new facility located in Manteno,

Illinois, by the end of 2024.




                                                   3
 Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.4 Filed 03/15/24 Page 4 of 20




       17.     Gotion has undertaken these initiatives with the support of German automobile

manufacturer Volkswagen, which holds approximately one quarter of Gotion’s shares and is a

major purchaser of Gotion’s batteries.

       18.     Locally, the Project presents an enormous opportunity for Mecosta County and

West Michigan.

       19.     Gotion intends to invest $2.36 billion into the Project, which is expected to create

approximately 2,350 well-paying jobs and bring transformative economic vitality to Mecosta

County and its surrounding areas.

       20.     The hourly compensation for the Project’s employees is expected to be around

$24.50, nearly 150% of the area’s average hourly wage of $16.50. Combined with benefits such

as health insurance and paid vacation, the total compensation package for employees of the Project

is anticipated to be around $60,000.

       21.     The anticipated indirect benefits of the Project are numerous.

       22.     The Project is spurring significant improvements to local infrastructure, and

anticipates creating new jobs by attracting ancillary businesses to the area. Additionally, Gotion

plans to partner with nearby educational institutions to train a new generation of employees from

the local population.

       23.     Overall, the Project is expected to generate nearly $12 billion in personal income

for those directly and indirectly employed by the Project over the next 20 years.

       24.     Gotion has already invested substantial resources and efforts to the Project. For

example, Gotion invested approximately $24,000,000 into the Project to acquire nearly 270 acres

of land in the Township in August 2023, the majority of which is zoned for industrial use.




                                                4
    Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.5 Filed 03/15/24 Page 5 of 20




          25.   Since October 2023 (after the Development Agreement was executed), Gotion has

invested nearly $500,000 in additional costs for management and marketing fees, among other

things.

          26.   Further, Gotion has already committed $56,000,000 for employee salaries and

infrastructure costs, and anticipates committing an additional $7,300,000 in architectural and

engineering design contract commitments, among other things, in March 2024.

National and State investments in EV technology

          27.   In August 2022, the United States Congress passed, and the President signed into

law, the Inflation Reduction Act (“IRA”).

          28.   The IRA provides tax incentives for domestic green energy initiatives. Within one

year of its passage, the IRA prompted more than $110 billion of capital investments announced

for clean energy manufacturing projects, including $70 billion towards establishing an electric

vehicle (“EV”) and battery supply chain in the United States.1

          29.   The IRA provides a much-needed overhaul to the domestic production of EVs and

EV batteries: today, the United States accounts only for approximately 10% of EV assembly

globally and 7% of EV battery production.2

          30.   Michigan is one of the leading states in the production of green and renewable

energy.




1
  One Year On, Biden’s IRA Has Changed the Battery Landscape, Benchmark Source (Aug. 15,
2023),         https://source.benchmarkminerals.com/article/one-year-on-the-ira-has-changed-the-
battery-landscape-in-the-us (last accessed March 7, 2024).
2
    Global Supply Chains of EV Batteries, Int’l Energy Agency (July 2022),
(https://iea.blob.core.windows.net/assets/4eb8c252-76b1-4710-8f5e-867e751c8dda/
GlobalSupplyChainsofEVBatteries.pdf (last accessed March 7, 2024).

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    Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.6 Filed 03/15/24 Page 6 of 20




        31.    As laid out in its Michigan Healthy Climate Plan, promulgated by Michigan’s

Department of Environment, Great Lakes, and Energy, the state has taken ambitious aim at

obtaining 100% carbon neutrality by 2050.3

        32.    Michigan’s commitment to clean and renewable energy initiatives was reaffirmed

recently, in November 2023, when the state legislature passed a series of landmark clean energy

laws. See 2023 Mich. Pub. Acts 229, 231, 233-35.

        33.    The state’s endorsement of these initiatives has spurred $20 billion in investments

in various energy-related sectors within one year of the passage of the IRA and has secured for

Michigan 14 large-scale works in clean energy, battery, and EV manufacturing, including Gotion’s

Project.4


State and Local Efforts to Bring the Project to West Michigan

        34.    Historic efforts by state and local governments secured the Project for West

Michigan.

        35.    In September, 2022, Mecosta County and the Township approved the designation

of a 30-year Renaissance Zone tax abatement to attract Gotion and its Project to the region.

        36.    The designation is estimated to provide the Project a tax incentive package of $540

million.




3
  MI Healthy Climate Plan, Mich. Dep’t of Env’t, Great Lakes, & Energy (Apr. 2022), at 4,
https://www.michigan.gov/egle/-/media/Project/Websites/egle/Documents/Offices/
OCE/MI-Healthy-Climate-Plan.pdf?rev=d13f4adc2b1d45909bd708cafccbfffa&hash=
99437BF2709B9B3471D16FC1EC692588 (last accessed March 7, 2024).
4
  Gov. Whitmer Announces Launch of “State of Michigan Community EV Toolkit,” Mich. Exec.
Off. Of the Governor (Apr. 25, 2023),                https://www.michiganbusiness.org/press-
releases/2023/04/michigan-winning-clean-energy-race (last access March 7, 2024).

                                                6
 Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.7 Filed 03/15/24 Page 7 of 20




       37.     On September 29, 2022, Gotion submitted to the Michigan Economic Development

Corporation (MEDC) an application for financial assistance to facilitate land acquisition, public

infrastructure improvements, engineering, permitting, wetland mitigation and other associated

costs in support of the Project.

       38.     The MEDC is a subdivision of the Michigan Strategic Fund (MSF), a Michigan

state agency that assists in identifying and promoting opportunities for economic development in

the State of Michigan.

       39.     The MSF approved Gotion’s application on October 5, 2022, for a grant of up to

$50 million through the Strategic Site Readiness Program (SSRP), a program that offers economic

assistance for the development of investment-ready sites throughout Michigan and improves the

infrastructure in the local community.

       40.     The MSF also approved an additional $125 million Critical Industry Program (CIP)

grant for the Project.

       41.     Through their combined efforts, state and local governments put forward a

competitive $715 million tax incentive package that secured the Project for Michigan over forty-

four other greenfield sites and twelve brownfield sites throughout the United States.

       42.     On December 13, 2022, the Township unanimously adopted Resolution No. 01-

122022 (the “Support Resolution”), expressing its support for Gotion and the Project and declaring

that the Township “strongly supports efforts to bring Gotion Incorporated to our township and

community, [and] that we will make every effort to work in the interests of our constituents and

community by assisting Gotion Inc. in their efforts to join our community.” A copy of the Support

Resolution is attached hereto as Exhibit 2.




                                                7
 Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.8 Filed 03/15/24 Page 8 of 20




The Grant Agreement and Development Agreement

        43.     On September 15, 2023, Gotion and the MSF executed a Grant Agreement, which

defines the terms and conditions for the disbursement of SSRP and CIP grant funds. A copy of the

Grant Agreement is attached hereto as Exhibit 3.

        44.     The Grant Agreement required Gotion and the Township to enter into a separate

agreement to provide for the completion of the public infrastructure improvements and site

development in the Township necessary for the continuing viability of the Project. Ex. 3, Grant

Agreement § 2.6(b)(i).

        45.     In a regular meeting of the Township Board on August 1, 2023, a first draft of the

Development Agreement was unanimously approved and then-Supervisor James Chapman was

unanimously authorized to finalize its terms and conditions with Gotion.

        46.     Pursuant to Section 2.6(b)(i) of the Grant Agreement, Gotion and the Board

executed the Development Agreement to define the terms and conditions governing the completion

of public infrastructure improvements and site development in the Township necessary for the

Project.

        47.     Among other things, the Development Agreement obligates the Township to:

        assist Gotion . . . in obtaining or causing to obtain any licenses, permits, or other
        governmental authorizations necessary to advance the Project and conduct business
        to support the Project, for which the failure to obtain such licenses, permits, or other
        governmental authorizations is reasonably likely to materially and adversely affect
        the Project (financially or otherwise), or impair Gotion’s ability to perform its
        obligations under this Agreement.

Ex. 1, Dev. Agmt., at § 4.c.

        48.     The Development Agreement further provides that “any material failure by either

Party to comply with any of the terms, covenants and conditions” of the Agreement is an “event

of default.” Id. at § 7.b.



                                                   8
 Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.9 Filed 03/15/24 Page 9 of 20




       49.     In the event of a default, the Development Agreement provides that “the non-

breaching Party may immediately, after the expiration of any applicable Cure Period without a

cure . . . exercise an[y] other available remedy at law or equity.” Id. at § 7.g.a.

       50.     The “Cure Period” is defined as the sixty-day period after the non-breaching party

provides written notice of the breach to the breaching party. Id.

The City of Big Rapids Water System and the Water Resolution

       51.     Water infrastructure is a critical part of the Project’s success, particularly in the

Project’s nascent stages, with an potential need of up to 715,000 gallons per day in the initial

phases of operation.

       52.     Because of the sizeable water needs of the Project, Gotion must obtain water from

a source with sufficient capacity to effectively service the Project.

       53.     After diligently reviewing its options for extending water to the Project, Gotion

determined that the most feasible source is obtaining water from the City of Big Rapids.

       54.     Pursuant to long-term agreements with the City, the Township has limited review-

and-approval rights over proposed extensions of the City’s water system. Specifically, in May

2000, the Township adopted Ordinance No. 16-52000, which granted the City the right to

construct, install, maintain, operate, repair, and replace the City’s water system along and under

the public rights-of-way in the Township for a period of thirty years. A copy of Ordinance No. 16-

52000 is attached hereto as Exhibit 4.

       55.     Under Ordinance No. 16-52000, proposed extensions of the City’s water system

through the Township “shall be subject to the review and approval of the Township.” Ex. 4, Ord.

No. 16-52000, at § 9. However, the scope of that review and approval process is strictly “limited




                                                   9
Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.10 Filed 03/15/24 Page 10 of 20




to the impact such extensions may have on the orderly development of the Township consistent

with the Township Master Plan.” Id.

       56.     After the adoption of Ordinance No. 16-52000, the Township and the City executed

the Retail Water Service Agreement (“Water Agreement”) in June and July 2000, which further

defines the City’s right to construct, install, maintain, operate, repair, and replace the various

components of the water system in the Township. A copy of the Water Agreement is attached

hereto as Exhibit 5.

       57.     Under the terms of the Water Agreement, while the Township has the initial

obligation to review plans and specifications to determine whether they are consistent with the

Township’s Master Plan, ultimately, “[t]he City shall have the sole authority for accepting or

rejecting the request of the Township for service.” Ex. 5, Water Agmt., at § 7 (emphasis added).

       58.     In accordance with Ordinance 16-52000, Gotion submitted to the Township two

sets of alternative plans and specifications to extend the City’s water system through the Township

to service the Project.

       59.     Option A would involve extending a new water main from the City’s current system

to Gotion’s property in Green Charter Township and constructing a water tower. See Exhibit 6,

Option A Plans & Specs.

       60.     Option B would involve constructing a new city well and water plant directly on or

near Gotion’s property. See Exhibit 7, Option B Plans & Specs.

       61.     After reviewing both Options proposed by Gotion, the Mayor of Big Rapids, Fred

Guenther, sent a letter to the Township “seeking Green Charter Township’s approval of the plans

and specifications for both options [A] and [B] so as not to require the City to come back later if

one or the other option proves unfeasible.”




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Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.11 Filed 03/15/24 Page 11 of 20




       62.        The Mayor further noted that “[i]n the City’s view, neither option will have any

adverse impact on future development in the Township inconsistent with the Township’s Master

Plan. Therefore, based on the limited scope of the Township’s review, it is our hope that this review

and approval process will not be controversial.” Id.

       63.        Honoring its obligation under the Development Agreement to obtain the necessary

governmental authority necessary to advance the Project, the Township unanimously adopted

Resolution No. 1012023 on October 10, 2023, approving Gotion’s plans and specifications (the

“Water Extension Resolution”). A copy of the Water Extension Resolution is attached hereto as

Exhibit 8.

       64.        In the Water Extension Resolution, the Township acknowledged the limitations of

the scope of its review and approval for proposed water extensions. Specifically, the Township

noted that its oversight was limited to an evaluation of “the impact, if any, such extension may

have on the orderly development of the Township consistent with the Township Master Plan[.]”

Ex. 8, Water Extension Resolution.

       65.        The Resolution further stated that the “Township Board hereby approves both sets

of plans and specifications for the proposed extensions of the Water System . . . with the

understanding that the City may select, at its sole discretion, the option that is most feasible and

convenient based on the circumstances and results of its efforts to obtain other required outside

approvals.” Id.

       66.        The Water Extension Resolution further noted that, “[t]he Township Board, in

approving the plans and specifications finds and determines that neither of the two alternative

proposed extensions of the Water System will adversely impact the orderly development of the

Township consistent with the Township’s Master Plan.” Id.




                                                 11
Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.12 Filed 03/15/24 Page 12 of 20




Township Board turnover and rescission of the Water Extension Resolution and Support
Resolution

       67.     Efforts to recall members of the Green Charter Township Board (the “Board”)

because of their support for the Project began in late 2022.

       68.     As a result of the recall efforts, Trustee James Peek resigned on June 13, 2023, and

Trustee Gary Todd resigned on September 13, 2023. Peek was replaced by Sara Rasmussen and

Todd was replaced by Daniel Hoeh.

       69.     On November 7, 2023, the Township held an election to recall the other five

members of the Board. All five remaining members, including the supervisor, two trustees, the

clerk, and the treasurer, were recalled.

       70.     The five new members of the Board are Jason Kruse (Supervisor), Kelly Cushway

(Trustee), Jeff Thorne (Trustee), Robert Henderson (Treasurer), and Corri Riebow (Clerk).

       71.     All five new members of the current Township Board have publicly expressed anti-

Gotion sentiment.

       72.     Clerk Corrie Riebow, speaking on the new Board’s stance on Gotion, shared with

the media that “[w]e just plan on making it as difficult as possible for them to continue their

process.”5

       73.     She added that Gotion was “not their friend.”6




5
  B. Entin & D. Markham, Michigan Town Votes to Oust Entire Govt. over Chinese Factory Plans,
NewsNation (November 8, 2023), https://www.newsnationnow.com/world/china/election-
government-chinese-factory-plans (last accessed on March 7, 2024).
6
  Id.


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Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.13 Filed 03/15/24 Page 13 of 20




        74.     Immediately prior to his election to the Board, Supervisor Jason Kruse was the

founder and president of the Mecosta Environmental & Security Alliance (“MESA”), an

organization that “exists to fund the legal efforts to stop the construction of” the Project.7

        75.     Supervisor Kruse told reporters shortly after assuming the role of Board Supervisor

that Gotion “can be stopped, 100 percent,” and that his political office could be used to undermine

Gotion’s efforts: “There’s a lot of holes that can be pulled apart and we can dissect this project.”8

        76.     In another instance, Supervisor Kruse explained the straightforward purpose of his

candidacy: “I’m elected to be a no-Gotion guy.”9

        77.     Trustee Jeff Thorne told the media that he ran for the Board to “be in th[e] fight”

against the Project: “I wouldn't be involved in this if I thought it was fruitless, if [the Project] was

a done deal. There are a lot of things that can be done.”10

        78.     Trustee Kelly Cushway bluntly told reporters: “Nothing would make me happier

than for Gotion to pull out.”11

        79.     On November 14, 2023—just one week after the recall election and in their first

meeting—the new Township Board adopted Resolution No. 2023.01 in a 4-to-3 vote, rescinding

the Water Extension Resolution, which had been unanimously adopted only a month prior. A copy



7
  MESA, https://protectmecosta.org (last accessed on February 14, 2024).
8
   M. Dilworth, Michigan Campaigners Who Kicked Out Township’s Entire Local Government,
Daily Mail (November 19, 2023), https://www.dailymail.co.uk/news/article-12754729/Michigan-
Green-Charter-board-China-Gotion-factory (last accessed on March 7, 2024).
9
  P. Gardner, New Scrutiny Challenges Michigan’s Investment in Gotion EV Battery Plant, Bridge
Michigan (December 5, 2023), https://www.bridgemi.com/business-watch/new-scrutiny-
challenges-michigans-investment-gotion-ev-battery-plant, (last accessed on March 7, 2024).
10
   Dilworth, supra note 8.
11
    M. Cho, New Green Charter Township Board Sworn In, WZZM13 (November 8, 2023),
https://www.wzzm13.com/article/news/local/new-green-charter-twp-board-sworn-in/69-
2c425548-e43c-4832-8eda-0cecb112c507 (last accessed on March 7, 2024).


                                                  13
Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.14 Filed 03/15/24 Page 14 of 20




of Resolution No. 2023.01, henceforth the “Resolution to Rescind,” is attached hereto as Exhibit

9.

       80.     In breaking the tie on the 3-3 vote to adopt the Resolution to Rescind, the Township

Supervisor stated that he would “flip a coin” and go with a vote to rescind the Water Extension

Resolution.

       81.     The Township justified its abrupt reversal on the grounds that “the current elected

board” lacked “sufficient time and legal expertise to review the Resolution and agreement terms.”

Ex. 10, Resolution to Rescind.

       82.     The Township also claimed that “the current board” had not been in “contact with

the City to fully understand the details and or scope of the project.” Id.

       83.     The Township also claimed to have “NOT reviewed the two alternative sets of plans

and specifications for the proposed extension of the Water System.” Id.

       84.     The Township failed to cite any authority to rescind the Water Extension

Resolution.

       85.     At that same meeting, the Township also approved a motion to “continue

investigating matters concerning Gotion.” Id.

       86.     At a special meeting held on Sunday, December 3, 2023, the Township Board voted

5-to-2 to rescind the Support Resolution. A copy of the minutes of this special meeting is attached

hereto as Exhibit 10.

       87.     In the Support Resolution, adopted unanimously less than a year earlier, the

Township had expressed its support for Gotion and the Project and declared that the Township

would “assist[] Gotion Inc in their efforts to join our community.” Ex. 2, Support Resolution.




                                                 14
Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.15 Filed 03/15/24 Page 15 of 20




       88.     With the rescission of the Support Resolution the Township made clear that it was

not interested in “fully understanding” the nature of its Agreement with Gotion. The Township’s

only goal was, in the words of Clerk Corrie Riebow, to make it “as difficult as possible for them

to continue their process.”

       89.     Nevertheless, the Development Agreement was and remains a legally binding

agreement between Gotion and the Township.

Breach Letter and the Township’s Response

       90.     On December 8, 2023, Gotion, through its counsel, notified the Township that it

was in material breach of the Development Agreement. A copy of this letter is attached hereto as

Exhibit 11.

       91.     Gotion requested that the Township cure its breaches by rescinding the recently

adopted resolutions and reinstating the Water Extension Resolution and the Support Resolution.

       92.     Pursuant to the Development Agreement, the Township had 60 days from the date

of the letter to cure as requested. Ex 1, Dev. Agmt. at § 7.g.a.

       93.     On February 8, 2024, the Township refused to cure its breach. A copy of this letter

is attached hereto as Exhibit 12.

       94.     The letter “presumed that the Development Agreement is a binding and enforceable

agreement on the parties,” but added that “that presumption should not be construed as an

admission by the Township that the Development Agreement is binding and enforceable.” Id.

       95.     In its letter, the Township did not dispute that the rescission of these resolutions

was contrary to its obligations in the Development Agreement. Rather, the Township provided

four supposed excuses for why it believed the rescissions of the Water Extension and Support

Resolutions did not constitute a breach of the Development Agreement.




                                                 15
Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.16 Filed 03/15/24 Page 16 of 20




        96.     First, it argued that the rescission of the Support Resolution did not affect the

Project because the Support Resolution only “contained blanket opinions,” and did not propose

any particular action for the Project. Id.

        97.     Second, the Township argued that the Project’s need for water was not presently

necessary because Gotion lacked various permits, governmental approvals, and “a finalized public

project design.” Id.

        98.     Third, it claimed that Gotion’s December 8 letter indicated that Gotion believed the

Township had no authority to approve expansions of the City’s water system, and thus, should

Gotion be correct, “Gotion should recognize that Township action is unnecessary for Proposed

Project approvals and that the Township could not materially or adversely impact the Proposed

Project.” Id.

        99.     Finally, the Township cited a December 6, 2023 article in the Big Rapids Pioneer

that reported on “a very good meeting” between the Big Rapids City Manager and Township

Supervisor Kruse, during which they discussed, among other topics, Gotion’s proposed extensions

to the water system.

        100.    The Township included in its letter a list of six questions about the Project which

the Township alleged to be “passing” to Gotion from “the public.” Id. Most of the questions asked

by the Township have nothing to do with the extension of water by the City.

        101.    It also requested reasoning as to “why it will not answer” “if Gotion chooses to not

answer” the questions. Id.

        102.    A representative from Gotion has attended every Board meeting since November

2023 to answer questions from the Board and the public. The questions asked have either been




                                                16
Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.17 Filed 03/15/24 Page 17 of 20




addressed by Gotion in those public meetings or are questions that Gotion presently could not

provide an answer.

The Township Continues to Breach the Development Agreement

       103.      Even after Gotion provided notice of the Township’s breaches of the Development

Agreement, the Township has continued to take actions to intentionally interfere with Gotion’s

project in clear violation of the Development Agreement.

       104.      For instance, shortly before this lawsuit was filed, the Township held yet another

series of special meetings in February to initiate a proposed ordinance to create a planning

commission, despite the fact that Township citizens already voted down a referendum to create a

planning commission in the November 2023 election. A copy of a February 21, 2024, meeting

minutes is attached hereto as Exhibit 13.

       105.      The Township Board indicated that it intends to appoint a 7-person planning

commission to create township zoning, rezone Gotion’s property, and reject all building permits.

       106.      On March 7, 2024, the Township served a Notice of Preliminary and Permanent

Injunction on the Mecosta County Planning Commission. A copy of this Notice is attached hereto

as Exhibit 14.

       107.      In the Notice, the Township threatened a lawsuit against the County if the County

did not stop processing Gotion’s site plan and special use permit application that was submitted to

the County for review on March 1, 2024 even though the ordinance to establish a planning

commission will not take effect until April 27, 2024 at the earliest per Michigan’s Zoning Enabling

Act, and the Township does not currently have a zoning ordinance in place that would confer

zoning jurisdiction on the Township. (Id.) The Mecosta County Planning Commission is currently




                                                 17
Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.18 Filed 03/15/24 Page 18 of 20




the sole body with zoning jurisdiction with respect to Gotion’s site plan and special use permit

application.

       108.    The Township’s March 7, 2024 Notice constitutes yet another breach of the

Development Agreement, as it is a blatant refusal to “assist Gotion . . . in obtaining or causing to

obtain any licenses, permits, or other governmental authorizations necessary to advance the

Project.” See Exhibit 1, Dev. Agmt. § 4(c).

       109.    The Township’s continued breaches of the Development Agreement threaten to

undermine the Project and thereby unravel an endeavor already years and millions of dollars in the

making.

       110.    To protect its investment, Gotion is left with no other option but to seek equitable

relief from this Court.

                                          COUNT I
                              Breach of Development Agreement

       111.    Gotion realleges and incorporates by reference the allegations of the preceding

paragraphs.

       112.    Gotion and the Township entered into a binding contract in the form of the

Development Agreement.

       113.    Gotion has fully performed its obligations under the Development Agreement and

remains ready, willing, and able to continue performance.

       114.    Under the Development Agreement, the Township is obligated to, among other

things, “assist Gotion, to the extent legally permissible, in obtaining or causing to obtain any

licenses, permits, or other governmental authorizations necessary to advance the Project or conduct

business to support the Project.” See Exhibit 1, Dev. Agmt. § 4(c).




                                                18
Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.19 Filed 03/15/24 Page 19 of 20




       115.    The Township breached the Development Agreement by its actions following the

November recall election, including rescinding the Water Extension Resolution and the Support

Resolution.

       116.    The Township further breached the Development Agreement through the March 7,

2024 Notice to the Mecosta County Planning Commission which threatens to enjoin the County

from exercising its statutory obligations under the Zoning Enabling Act.

       117.    Specific performance is an appropriate remedy here because there is no adequate

remedy at law for the Township’s continuing refusal to follow its obligations under the

Development Agreement, including approving the plans and specifications for the extension of the

Township’s water system to service the Project and otherwise supporting the Project.

                                   PRAYER FOR RELIEF

       WHEREFORE, Gotion respectfully requests this Court grant it the following relief:

       A.      A declaratory judgment that the Development Agreement is a valid and binding

agreement between the parties;

       B.      A declaratory judgment that the Township’s adoption of the Resolution to Rescind

and the rescissions of the Water Extension Resolution and the Support Resolution violate the

Development Agreement, and that the Water Resolution and the Support Resolution remain in full

force and effect;

       C.      A declaratory judgment that the Township’s March 7, 2024 Notice to Mecosta

County violates the Development Agreement, and that the Township cannot legally prevent

Mecosta County from processing Gotion’s site plan and special use permit application under the

Zoning Enabling Act;




                                               19
Case 1:24-cv-00275-JMB-PJG ECF No. 1, PageID.20 Filed 03/15/24 Page 20 of 20




         D.        A preliminary and permanent injunction directing the Township to comply with its

obligations under the Development Agreement, including but not limited to,

              i.   An order directing the Township to rescind the Resolution to Rescind;

           ii.     An order directing the Township to reinstate the Water Extension Resolution and

                   the Support Resolution;

          iii.     An order prohibiting the Township from attempting to enjoin Mecosta County from

                   processing Gotion’s site plan and special use permit application;

         E.        An award of costs and attorneys’ fees; and

         F.        Any other relief this Court determines is just and proper.



                                                 Respectfully submitted,

                                                 WARNER NORCROSS + JUDD, LLP

Dated: March 15, 2024                            /s/ Ashley G. Chrysler
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